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          IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF FLORIDA
                     TALLAHASSEE DIVISION



UNITED STATES OF AMERICA,

v.                                                   CASE NO. 4:96cr56-RH/WCS

RENEE PATTERSON,

             Defendant.

____________________________________/



                 ORDER DENYING MOTION FOR EARLY
                TERMINATION OF SUPERVISED RELEASE


       Defendant Renee Patterson has moved for early termination of supervised

release. Ms. Patterson has served only one year of the five-year term to which she

was sentenced. She has not alleged extraordinary circumstances of the type that

would support so early a termination. Accordingly,

       IT IS ORDERED:

       Defendant Renee Patterson’s motion for early termination of supervised

release (document 738) is DENIED.

       SO ORDERED this 7th day of August, 2005.

                                            s/Robert L. Hinkle
                                            Chief United States District Judge
